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                         UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA
                   Civil Action, File No. 3:06-cv-00205-JWS

RONALD L. and DEBBIE L. HALSEY     )
                                   )
               PLAINTIFFS,         )
                                   )           PLAINTIFFS’ REQUEST
v.                                 )           FOR ORAL ARGUMENT ON
                                   )           MOTION FOR SUMMARY JUDGMENT
ADMINISTRATOR,                     )           PURSUANT TO
WAGE AND HOUR DIVISION, UNITED     )           D.Ak. LR 7.2(a)
STATES DEPARTMENT OF LABOR,        )
                                   )
               DEFENDANTS.         )
___________________________________)

         COME    NOW   the   Plaintiffs,   Ronald   Halsey   and   Debbie   L.

Halsey, by and through their counsel, Arthur S. Robinson of

ROBINSON     &    ASSOCIATES,   and   hereby    respectfully   request   oral

argument on their Motion for Summary Judgment.

     Respectfully submitted this 30th day of March, 2007.

                ROBINSON & ASSOCIATES
                By: s/Arthur S. Robinson
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                          CERTIFICATE OF SERVICE

     I hereby certify that a copy of the foregoing Plaintiffs’
Request for Oral Argument was served electronically upon counsel
for Defendant’s counsel, Richard L. Pomeroy, Assistant United
States Attorney, this 30th day of March, 2007.

By: /s/ Arthur S. Robinson




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